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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                 Chapter 11

 AGSPRING LLC,                                          Case No. 23-10699 (CTG)

                               Debtor.

                                                        Chapter 11
 In re:
                                                        Case No. 23-10700 (CTG)
 AGSPRING IDAHO 1 LLC,

                               Debtor.

                                                        Chapter 11
 In re:
                                                        Case No. 23-10703 (CTG)
 AGSPRING IDAHO LLC,

                               Debtor.

                                                        Chapter 11
 In re:
                                                        Case No. 23-10704 (CTG)
 FO-ND LLC, DBA FIREBRAND ARTISAN MILLS,

                               Debtor.

                                                        Chapter 11
 In re:
                                                        Case No. 23-10705 (CTG)
 AGSPRING LOGISTICS LLC, DBA AGFORCE,

                               Debtor.

                                                        Chapter 11
 In re:
                                                        Case No. 23- 10702 (CTG)
 AGSPRING IDAHO 2 LLC,

                               Debtor.
                                                        Related Docket No. 2

      ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’
         CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF


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         Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) seeking entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1 authorizing and directing the joint

administration of the Debtors’ related chapter 11 cases for procedural purposes only; all as more

fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested

in the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and the Court finding that: (a) the Debtors are “affiliates” within the meaning of section 101(2)

of the Bankruptcy Code; and (b) the joint administration of the Debtors’ cases for procedural

purposes is appropriate pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1; and upon




1
    Capitalized terms not defined herein retain the meaning assigned to them in the Motion.




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all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

             1.    The Motion is hereby granted as set forth herein.

             2.    The above-captioned chapter 11 cases are hereby consolidated for procedural

purposes only and shall be jointly administered by this Court. Nothing contained in this Order

shall be deemed or construed as directing or otherwise effecting a substantive consolidation of the

captioned cases, and this Order shall be without prejudice to the rights of the Debtors to seek entry

of an order substantively consolidating their respective cases.

             3.    The caption of the jointly administered cases shall read as follows:


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AGSPRING, LLC, et al.,                                Case No. 23-10699 (CTG)

              Debtors.                                    Jointly Administered

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.

             4.    In addition, the Clerk is directed to make a notation substantially similar to the

following on the docket of each Debtor:

                   An order (the “Joint Administration Order”) has been entered in this
                   case directing the joint administration of the chapter 11 cases listed
                   below for procedural purposes only. The docket in Case No. 23-10699
                   (CTG) should be consulted for all matters affecting this case. The
                   following chapter 11 cases are jointly administered pursuant to the
                   Joint Administration Order: Agspring, LLC, 23-10699 (CTG);



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                  Agspring Idaho 1 LLC 23-10700 (CTG); Agspring Idaho LLC 23-
                  10703 (CTG); FO-ND LLC, dba Firebrand Artisan Mills 23-10704
                  (CTG); Agspring Logistics LLC, dba Agforce 23-10705 (CTG); and
                  Agspring Idaho 2 LLC 23-10702 (CTG).


         5.       The caption set forth above shall be deemed to satisfy any applicable requirements

 of section 342(c) of the Bankruptcy Code and Bankruptcy Rule 2002(n).

         6.       All pleadings and other documents to be filed in the jointly administered cases

 shall be filed and docketed in the case of Agspring, LLC, et al., Case No. 23-10699 (CTG).

         7.       The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Motion.

         8.       This Order shall take effect immediately upon entry. The Court retains jurisdiction

 with respect to all matters arising from or related to the implementation, interpretation, and

 enforcement of this Order.




                                           CRAIG T. GOLDBLATT
Dated: June 2nd, 2023
                                           UNITED STATES BANKRUPTCY JUDGE
Wilmington, Delaware




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